Case 18-02301-jw            Doc 56       Filed 09/10/19 Entered 09/10/19 18:13:30                      Desc Main
                                         Document      Page 1 of 9



                                    UNITED STATES BANKRUPTCY COURT

                                        DISTRICT OF SOUTH CAROLINA


INRE:                                                     CASE NO: 18-2301-jw

Larry and Renee D. Johnson                                CHAPTER 13

                             DEBTOR(S)

                                                          MOTION TO MODIFY PLAN AFTER CONFIRMATION
Address: 31 Schooner Ct.                                        AND OPPORTUNITY FOR HEARING

           Columbia, SC

 Last four digits of Social-Security or Individual Tax­
Payer-Identification (ITIN) No(s)., (if any): 5728 and
9708


                The Court has confirmed a chapter 13 plan in this case. The debtor(s) moves, pursuant to 11 U.S.C. §
1329(a), and Fed. R. Bankr. P. 3015(h), to modifY the confirmed plan. A copy of the plan with these modifications
included is attached.

        TAKE NOTICE that any response, return, andior objection to this motion should be filed with the Court no
later than 21 days after the service of the modified chapter 13 plan, as computed under Fed. R. Bankr. P. 9006(a), on
the chapter 13 trustee, the debtor(s), and any attorney for the debtor(s).

        TAKE FURTHER NOTICE that no hearing will be held on this motion, except at the direction of the judge,
unless a response, return, andior objection is timely filed and served, in which case the Court will conduct a hearing
on October 10, 2019 at 9:00 a.m., at the United States Bankruptcy Court, 1100 Laurel Street, Columbia, South
Carolina. No further notice of this hearing will be given.


Date: September 10,2019                            IslBarbara E. Brunson
                                                   Barbara E. Brunson Fed ID # 005037
                                                   Law Office of Barbara E. Brunson, LLC
                                                   P.O. Box 50943
                                                   Columbia, SC 29250
                                                   Telephone No.: (803) 799-0425
                                                   Fax Number: (877) 310-8766
                                                   barbara@brunsonlawsc.com
              Case 18-02301-jw                          Doc 56      Filed 09/10/19 Entered 09/10/19 18:13:30                          Desc Main
Fill in this information to identif' Ollr case:                     Document      Page 2 of 9
Debtor 1               Larry Johnson                                                                                    Che<;k if this is a modified plan, and
                             First Name           Middle Name            Last Name                                      list below the sections of the plan that
                                                                                                                        have been changed.
Debtor 2            Renee D. Johnson
(Spouse, iffiling) First Name        Middle Name            Last Kame
United States Bankruptcy Court for the:          DISTRICT OF SOUTH CAROLINA                                             Pre-eonfirmation modification
                                                                                                                        Post-confirmation modification
Case number:                 18-02301                                                                                   2.1,8.1
(lfknown)                                                                                                           I




District of South Carolina
Chapter 13 Plan                                                                                                                                           5/19

'.-Notices

To Debtor(s):             This form sets out options that may be appropriate in some cases, but the presence of an option on the form does not
                          indicate that the option is appropriate in your circumstances. Plans that do not comply with the Bankruptcy Code, the
                          Federal Rules of Bankruptcy Procedure, this Court's local rules, and judicial rulings may not be confirmable.

                          In the jollCJWfng notice to creditors, you must check each box that applies

To Creditors:             Your rights may be affected by this plan. Your claim may be reduced, modified, or eliminated.

                          You should read this plan carefully and discuss it with your attorney if you have one in this bankruptcy case. If you do not have
                          an attorney, you may wish to consult one. Failure to object may constitute an implied acceptance of and consent to the relief
                          requested in this document.

                          If you oppose the plan's treatment of your claim or any provision ofthis plan. you or your attorney must file a timely objection to
                          confirmation. To determine the deadline to object to this plan, you must consult the Notice of Bankruptcy Case or
                          applicable Notice/Motion served with this plan. The Bankruptcy Court may confirm this plan without further notice if no
                          objection to confirmation is filed, See Bankruptcy Rule 3015. In addition, pursuant to Federal Rule of Bankruptcy Procedure
                          3002, you must file a timely proof of claim in order to be paid under any plan. Confirmation of this plan does not bar a party in
                          interest from objecting to a claim.

                          The following matters may be of particular importance. Debtors must check one box on each line to state whether or not the
                          plan includes each Of the following items. If an item is checked as "Not Included" or if both boxes are checked, the provision
                          will be ineffective if set out later in the plan.

 1.1        IA limit on the amount of a secured claim, set out in Section 3.2, which may result in D Included                           I ~ Not Included
             a partial payment or no payment at all to the secured creditor
 1.2        IAvoidance of a judicial lien or nonpossessory, nonpurchase-money security interest, D Included                             . ~ Not Included
             set out in Section 3.4.
 1.3       I Nonstandard provisions, set out in Part 8.                                                     .~ Included                 I   D Not Included
 1.4       ! Conduit Mortgage Payments: ongoing mortgage payments made by the trustee                       !~ Included                 ID Not Included
            through plan, set out in Section 3.I(c) and in Part 8

' • • • Plan Payments and Length of Plan

2.1      The debtor submits to the supervision and control of the trustee all or such portion of future earnings or other future income as is necessary
forthe execution of the plan.

Unless all allowed claims (other than long-term claims) are fully paid pursuant to the plan, the debtor will make regular payments to the trustee as
follows:


$3,504.00 per Month for 15 months
$3,610.00 per Month for 45 months

Insert additional lines       if needed
The debtor and trustee may stipulate to a higher payment in order to provide adequate funding of the plan without the necessity of a modification to
the plan. The stipulation is effective upon filing with the Court.


Software Copyright (e) 1996-2019 Best Ca,e, LLC· www.bestcase.com                                                                      Be't Case Bankruptcy
                Case 18-02301-jw                         Doc 56       Filed 09/10/19 Entered 09/10/19 18:13:30                          Desc Main
                                                                      Document      Page 3 of 9
    Debtor               Larry Johnson                                                              Case number         18-02301
                         Renee D. Johnson

   Additional monthly payments will be made to the extent necessary to make the payments to creditors specified in this plan.

   2.2         Regular payments to the trustee will be made from future income in the following manner:

               Check all that apply:
               ~        The debtor will make payments pursuant to a payroll deduction order.
               D        The debtor will make payments directly to the trustee.
               D        Other (specify method of payment):


   2.3 Income tax refunds.
       Check one.
             ~       The debtor will retain any income tax refunds received during the plan term.

                D           The debtor will treat income refunds as follows:


   2.4 Additional payments.
       Check one.
             ~       None. If "None" is checked, the rest of § 2.4 need not be completed or reproduced.

   , _ Treatment of Secured Claims

   To receive a distribution from the trustee, a proof of claim, including adequate supporting documentation and filed in compliance with Official Rules
   and Forms, must be filed with the Court. For purposes of plan distribution, a claim shall be treated as provided for in a confirmed plan. However, if a
   claim is treated as secured in a confirmed plan and the affected creditor elects to file an unsecured claim, such claim, unless timely amended, shall be
   treated as unsecured for purposes of plan distribution. Any creditor holding a claim secured by property that is removed from the protection of the
   automatic stay by order, surrender, or through operation of the plan will receive no further distribution from the chapter 13 trustee on account of any
   secured claim. This provision also applies to creditors who may claim an interest in, or lien on, property that is removed from the protection of the
   automatic stay by another lienholder or released to another lienholder, unless the Court orders otherwise, but does not apply if the sole reason for its
   application arises under 11 U.S.C. § 362(c)(3) or (c)(4). Any funds that would have otherwise been paid to a creditor, but pursuantto these
   provisions will not be paid, will be distributed according to the remaining terms ofthe plan. Any creditor affected by these provisions and who has
   t1led a timely proof of claim may t1le an itemized proof of claim for any unsecured deficiency within a reasonable time after the removal of the
   property from the protection ofthe automatic stay. Secured creditors that will be paid directly by the debtor may continue sending standard payment
   and escrow notices, payment coupons, or inquiries about insurance, and such action will not be considered a violation of the automatic stay.

   3.1          Maintenance of payments and cure or waiver of default, if any.

                Check all that apply. Only relevant sections need to be reproduced

                D           None. If "None" is checked, the rest of § 3.1 need not be completed or reproduced.

                            3.I(b) The debtor is in default and will maintain the current contractual installment payments on the secured claims listed below,
                            with any changes required by the applicable contract and noticed in conformity with any applicable rules. The arrearage
                            payments will be disbursed by the trustee, with interest, if any, at the rate stated. The trustee shall pay the arrearage as stated in
                            the creditor'S allowed claim or as otherwise ordered by the Court.



Insert additional claims as needed.


                 ~          3.I(c) The debtor elects to make post-petition mortgage payments to the trustee for payment through the Chapter 13 Plan in
                            accordance with the Operating Order of the Judge assigned to this case and as provided in Section 8.1. In the event of a conflict
                            between this document and the Operating Order, the terms of the Operating Order control.

                 D          3.1(d) The debtor proposes to engage in loss mitigation efforts with ___ according to the applicable guidelines or procedures
                            of the Judge assigned to this case. Refer to section 8.1 for any nonstandard provisions, if applicable.

                            Insert additional claims as needed
                o           3.1(e) Other. A secured claim is treated as set forth in section 8.1. This provision will be effective only if the applicable box in

   District of South Carolina
   Effective May 1,2019                                                         Chapter 13 Plan                                                      Page 2
   Software Copyright (e) 19%-2019 BestC.,.. LLC - www.bestcase.com                                                                       Best Case Bankruptcy
              Case 18-02301-jw                          Doc 56       Filed 09/10/19 Entered 09/10/19 18:13:30                         Desc Main
                                                                     Document      Page 4 of 9
Debtor                Larry Johnson                                                               Case number         18-02301
                      Renee D. Johnson

                        . Section 1.3 of this plan is checked and a treatment is provided in Section 8.1.

                          Insert additional claims as needed

3.2          Request for valuation of security and modification of undersecured claims. Check one.

             [i.]        :'Iione. If "None" is checked, the rest of § 3.2 need not be completed or reproduced.

3.3          Other secured claims excluded from 11 U.S.c. § 506 and not otherwise addressed herein.

             Check one.
             o       None. If "None" is checked, the rest of § 3.3 need not be completed or reproduced.
             [i.]    The claims listed below are being paid in full without valuation or lien avoidance.

                          These claims will be paid in full under the plan with interest at the rate stated below. These payments will be disbursed either by
                          the trustee or directly by the debtor, as specified below. Unless there is a non-filing co-debtor who continues to owe an
                          obligation secured by the lien, any secured creditor paid the allowed secured claim provid,~d for by this plan shall satisfy its liens
                          at the earliest of the time required by applicable state law, order of this Court, or upon completion ofthe payment of its allowed
                          secured claim in this case.

 :'Iiame of Creditor                Collateral                             Estimated amount of claim        Interest rate       Estimated monthly payment
                                                                                                                                to creditor

Wilshire                            2008 Landrover Range Rover
Commercial Ca                       Sport Super 130,000 miles                             $9,588.00                6.00%                                  $186.00
                                                                                                                                (or more)

                                                                                                                                Disbursed by:
                                                                                                                                [i.] Trustee
                                    2008 Mercedes clk
                                                                                                                                o Debtor
 Wilshire
 Commercial Ca                      convertable 90,000 miles                               $7,314.00                6.00%                                 $142.00
                                                                                                                                 (or more)

                                                                                                                                Disbursed by:
                                                                                                                                [i.] Trustee
                                                                                                                                o Debtor
Insert additional claims as needed

3.4          Lien avoidance.

Check one.
              [i.]        None. If "None" is checked, the rest of § 3.4 need not be completed or reproduced.

3.5          Surrender of collateral.

             Check one.
              o       :'Iione. If "None" is checked, the rest of § 3.5 need not be completed or reproduced.
             [i.]     The debtor elects to surrender the collateral that secures the claim of the creditor listed below. The debtor requests that upon
                      confirmation of this plan the stay under 11 U.S.C. § 362(a) be terminated as to the collateral only and that the stay under § 1301
                    . be terminated in all respects. A copy of this plan must be served on all co-debtors. Any creditor who has filed a timely proof of
                      claim may file an amended proof of claim itemizing the deficiency resulting from the disposition of the collateral within a
                      reasonable time after the surrender of the property. Any such amended claim, if allowed, will be treated in Part 5.1 below.

 :-.lame of Creditor                                                              Collateral
                                                                                  2007 BMW 328 124,000 miles
 Navy Federal Credit Union                                                        damage worth 3,000 paid off
                                                                                  2001 Mercedes S500 120,000 miles
 One Main Financial                                                               inoperable


District of South Carolina
Effective May 1,2019                                                          Chapter 13 Plan                                                     Page 3
Software Copyright (e) 1996-2019 Best Case, LLC - www.bestcase.eom                                                                      Best Case Bankruptcy
              Case 18-02301-jw                         Doc 56      Filed 09/10/19 Entered 09/10/19 18:13:30                            Desc Main
                                                                   Document      Page 5 of 9
Debtor                Larry Johnson                                                                Case number         18-02301
                      Renee D. Johnson


Insert additional claims as needed.


.m.
4.1
             Treatment of Fees and Priority Claims

         General
The debtor shall pay all post-petition priority obligations, including but not limited to taxes and post-petition domestic support, and pay regular
payments on assumed executory contracts or leases, directly to the holder of the claim as the obligations come due, unless otherwise ordered by the
Court. Trustee's fees and all allowed priority claims, including domestic support obligations other than those treated in § 4.5, will be paid in full
without postpetition interest.

4.2         Trustee's fees

Trustee's fees are governed by statute and may change during the course of the case.

4.3         Attorney's fees.

            a.            The debtor and the debtor's attorney have agreed to an attorney's fee for the services identified in the Rule 20l6(b) disclosure
                          statement filed in this case. Fees entitled to be paid through the plan and any supplemental fees as approved by the Court shall be
                          disbursed by the trustee as follows: Following confirmation of the plan and unless the Court orders otherwise, the trustee shall
                          disburse a dollar amount consistent with the Judge's guidelines to the attorney from the initial disbursement. Thereafter, the
                          balance of the attorney's compensation as allowed by the Court shall be paid, to the extent then due, with all funds remaining
                          each month after payment of trustee fees, allowed secured claims and pre-petition arrearages on domestic support obligations. In
                          instances where an attorney assumes representation in a pending pro se case and a plan is confirmed, a separate order may be
                          entered by the Court, without further notice, which allows for the payment of a portion of the attorney's fees in advance of
                          payments to creditors.

            b.            If, as an alternative to the above treatment, the debtor's attorney has received a retainer and cost advance and agreed to file fee
                          applications for compensation and expenses in this case pursuant to 11 U.S.c. § 330, the retainer and cost advance shall be held
                          in trust until fees and expense reimbursements are approved by the Court. Prior to the filing of this case, the attorney has
                          received $_ _ and for plan confirmation purposes only, the fees and expenses of counsel are estimated at $_ _ or less.

4.4          Priority claims other than attorney's fees and those treated in § 4.5.



            The trustee shaH pay all allowed pre-petition II U.S.C. § 507 priority claims, other than domestic support obligations treated below, on a
            pro rata basis. If funds are available, the trustee is authorized to pay any allowed priority claim without further amendment of the plan.

             Check box below if there is a Domestic Support Obligation.


             o           Domestic Support Claims. II U.S.C. § 507(aXI):

                          a.           Pre-petition arrearages. The trustee shall pay the pre-petition domestic support obligation arrearage to (state name of
                                       DSO recipient), at the rate of         or more per month until the balance, without interest, is paid in full. Add
                                       additional creditors as needed.

                          b.           The debtor shall pay all post-petition domestic support obligations as defined in 11 U.S.C. § 101(l4A) on a timely basis
                                       directly to the creditor.

                          c.           Any party entitled to collect child support or alimony under applicable non-bankruptcy law may collect those
                                       obligations from property that is not property of the estate or with respect to the withholding of income that is property
                                       of the estate or property of the debtor for payment of a domestic support obligation under a judicial or administrative
                                       order or a statute.

4.5          Domestic support obligations assigned or owed to a governmental unit and paid less than full amount.

             Check one.


District of South Carolina
Effective May 1,2019                                                            Chapter 13 Plan                                                   Page 4
Software Copyright (c) 19%·2019 Best Case. LLC· www.bestcase.com                                                                        Best Case Bankruptcy
              Case 18-02301-jw                          Doc 56       Filed 09/10/19 Entered 09/10/19 18:13:30                     Desc Main
                                                                     Document      Page 6 of 9
Debtor                Larry Johnson                                                            Case number        18-02301
                      Renee D. Johnson

             ~            None. If "None" is checked, the rest of § 4.5 need not be completed or reproduced.



'M.           Treatment of Nonpriority Unsecured Claims

5.1          Nonpriority unsecured claims not separately classified. Check one

             Allowed nonpriority unsecured claims that are not separately classified will be paid, pro rata by the trustee to the extent that funds are
             available after payment of all other allowed claims.

               The debtor estimates payments of less than 100% of claims.
               The debtor proposes payment of 100% of claims.
               The debtor proposes payment of 100% of claims plus interest at the rate of %.




5.2          Maintenance of payments and cure of any default on nonpriority unsecured claims. Check one.

              ~           None. If "None" is checked, the rest of § 5.2 need not be completed or reproduced.

5.3          Other separately classified non priority unsecured claims. Check one.

                          None. If "None" is checked, the rest of § 5.3 need not be completed or reproduced.

'M.           Executorv Contracts and Unexpired Leases

6.1          The executory contracts and unexpired leases listed below are assumed and will be treated as specified. All other executory
             contracts and unexpired leases are rejected. Check one .

                        . None. If "None" is checked, the rest of § 6.1 need not be completed or reproduced.



, _ Vesting of Property of the Estate

7.1        Property ofthe estate will vest in the debtor as stated below:
      Check the applicable box:

      ~       Upon confirmation of the plan, property of the estate will remain property of the estate, but possession of property of the estate shall
              remain with the debtor. The chapter 13 trustee shall have no responsibility regarding the use or maintenance of property of the estate.
              The debtor is responsible for protecting the estate from any liability resulting from operation of a business by the debtor. Nothing in the
              plan is intended to waive or affect adversely any rights of the debtor, the trustee, or party with respect to any causes of action ovmed by
              the debtor.

      o       Other. The debtor is proposing a non-standard provision for vesting, which is set forth in section 8. I. This provision will be effective
              only if the applicable box in Section 1.3 of this plan is checked and a proposal for vesting is provided in Section 8.1.

'M_           Nonstandard Plan Provisions

8.1          Check "None" or List Nonstandard Plan Provisions
              o     None. If "None" is checked, the rest of Part 8 need not be completed or reproduced.

8.1 (a) Mortgage payments to be disbursed by the Trustee ("Conduit")

In addition to the below, the provisions of the assigned Judge's Operating Order In RE: Conduit Mortgage Payment in Chapter 13 Cases are
incorporated herein.

Mortgage payments, including pre-petition arrears, will be paid and cured by the Trustee as follows:

District of South Carolina
Effective May 1,2019                                                         Chapter 13 Plan                                                  Page 5
Software Copyright (0) 1996-2019 Best Case. LLC - www.bestcase.com                                                                  Best Case Bankruptcy
              Case 18-02301-jw                           Doc 56              Filed 09/10/19 Entered 09/10/19 18:13:30                            Desc Main
                                                                             Document      Page 7 of 9
Debtor                 Larry Johnson                                                                            Case number          18-02301
                       Renee D. Johnson


Name of Creditor I Description of Collateral                           Current       • Monthly payment          Estimated amount       Monthly payment
                   (note if principal                                  Installment     to cure GAP***           of                     on pre-petition
                   residence; include county                           payment         (post pettion            PRE-PETITION           arrearage
                   tax map number and                                  (ongoing        mortgage                 ARREARAGE **
                   complete street address)                            payment         payments for the         (including the
                                                                       amount)*        two (2) months           month of filing or
                                                                                       immediately              conversion)*
                                                                                       following the
                                                                                       event beginning
                                                                                       conduit)
Wells Fargo                  31 Schooner Ct.,                         I $2,372.28      $78.00                   $24,405.50             $407.00
Home Mortgage                Columbia, SC 29229
                                                                       Escrow for     Or more                                          Or more
                                                                       taxes
                                                                       X Yes
                                                                       D No

                                                                       Escrow for
                                                                       insurance:
                                                                       X Yes
                                                                       D No

                                                                       $              $                         $                      $

                                                                       Escrow for     Or more                                          Or more
                                                                       taxes
                                                                       DYes
                                                                       D No

                                                                       Escrow for
                                                                       insurance:
                                                                       DYes
                                                                       D No




                                                                                                            •




*Unless otherwise ordered by the court, the amounts listed on a compliant proof of claim or a Notice filed und FRBP 3002(c) control over any
contrary amounts above, and any Noteice of Payment Change that might be filed to amend the ongoing monthly payment amount
**The Gap will be calculated from the payment amounts reflected in the Official Form 410A Mortgage Proof of Claim Attachment and any Notice of
Payment Change that might be filed to amend the monthly payment amount, but should not be included in the prepetition arrears amount.

All payments due to the Mortgage Creditor as described in any allowed Notice of Post-Petition Mortgage Fees, Expenses, and Charges under
F.R.B.P. 3002.1, filed with the Court, will be paid by the trustee, on a pro rata basis as funds are available. See the Operating Order of the
Judge assigned to this case.



8.1(b)       Debtor'S Statement in Support of Confirmation




District of South Carolina
Effective May L 2019                                                                      Chapter 13 Plan                                                   Page 6
Software Copyright (e) ) 996-20) 9 Best Case. LLC - www.beste.secom                                                                               Best Case Bankruptcy
              Case 18-02301-jw                         Doc 56       Filed 09/10/19 Entered 09/10/19 18:13:30                     Desc Main
                                                                    Document      Page 8 of 9
Debtor                Larry Johnson                                                            Case number       18·02301
                      Renee D. Johnson

In connection with this plan the debtor(s) hereby state that they understand the following:

            (I) The obligations set forth in the plan, including the amount, method, and timing of payments made to the trustee and/or directly to
            creditors;

            (2) The consequences of any default under the plan including the direct payments to creditors; and

             (3) That debtor(s) may not agree to sell property, or sell property, employ professionals, or incur debt (including modification of debt)
             during the term of the plan without the advance authorization of the Bankruptcy Court.

8.I(c)       Part 1 of this chapter 13 form plan indicates that all objections to the confirmation ofthe plan must be filed no later than 7 days
             before the date set for the hearing on confirmation, unless otherwise ordered. In Operating Order 18-04, Judge Waites has
             otherwise ordered that all objections to the confirmation of a chapter 13 plan in cases before him shall be filed with the Court no
             later than 21 days after the date of service ofthe plan. Therefore, all objections to the confirmation of this chapter 13 plan must be
             filed with the Court no later than 21 days after the date of service of this plan.


'fi'.         Signatures:

9.1          Signatures of debtor and debtor attorney

             The debtor and the attorney for the debtor, if any, must sign below.

X        lsI Larry Johnson                                                   X       lsI Renee D. Johnson
         Larry Johnson                                                               Renee D. Johnson
         Signature of Debtor I                                                       Signature of Debtor 2

         Executed on         September 10,2019                                       Executed on   September 10, 2019

X        lsI Barbara E. Brunson                                               Date     September 10, 2019
         Barbara E. Brunson
         Signature of Attorney for debtor DCID#

By filing this document, the debtor, if not represented by an attorney, or the debtor and the attorney for the debtor certify(ies) that this
Chapter 13 plan contains no nonstandard provision other than those set out in Part 8.




District of South Carolina
Effective May 1.2019                                                        Chapter 13 Plan                                                  Page 7
Software Copyright (e) 1996-2019 Best Case, LLC· www.bestease.com                                                                  Best Case Bankruptty
            Case 18-02301-jw                      Doc 56            Filed 09/10/19 Entered 09/10/19 18:13:30           Desc Main
                                                                    Document      Page 9 of 9
                                                             United States Bankruptcy Court
                                                                     District of South Carolina
           Larry Johnson
 In re     Renee D. Johnson                                                                             Case No.   18-02301
                                                                                                                   ~~----------------
                                                                                Debtor(s)               Chapter



                                                                CERTIFICATE OF SERVICE
I hereby certity that on September 10, 2019, a copy of Motion to Modity Plan after Confirmation and Opportulllitv for
Hearing and Modified plan was served electronically or by regular United States mail to all interested parties, the
Trustee and all creditors listed below.


William K. Stephenson, Jr.
Chapter 13 Office
3700 Forest Dr., Ste. 302
P.O. Box 8477
Columbia, SC 29202
Wells Fargo Bank NA
Default Document Processing
N9286-01y
1000 Blue Bentian Road
Eagan, lVIN 55121-7700
Wells Fargo Home Mortgage
Attn: Bankruptcy
Macx7801-014
4376 Stateview Blvd.
Fort Mill, SC 29715


                                                                              IslBarbara E. Brunson
                                                                              Barbara E. Brunson
                                                                              Law Office of Barbara E. Brunson
                                                                              P.O. Box 50943
                                                                              Columbia, SC 29250
                                                                              (803) 799-0425Fax:(877) 310-8766
                                                                              barbara@brunsonlawsc.com




Software Copyright (e) 1996-2018 Best Case, LLC -www.bestcase.com                                                             Best Case Bankruptcy
